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August 28, 2019                                                                     Alan E. Schoenfeld
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The Honorable Andrew L. Carter, Jr.
United States District Court
  for the Southern District of New York
40 Foley Square, Room 435
New York, New York 10007

       Re: Bruce E. Katz, M.D., P.C. v. LiceDoctors LLC, Civ. No. 1:19-cv-06303-ALC

Dear Judge Carter:

I represent defendant LiceDoctors LLC in the above-captioned matter.

I write to request a 30-day extension of time to respond to the complaint, pursuant to Federal
Rule of Civil Procedure 6(b)(1)(A) and Local Rule 7.1(b). Pursuant to Rule 1(D) of Your
Honor’s Individual Practices, defendant states in support of this request that:

   1. The original and current deadline to respond to the complaint is September 10, 2019.
   2. There have been no previous requests to extend this deadline.
   3. The plaintiff consents to this request.

If the Court grants this request, the new deadline would be October 10, 2019.

Respectfully submitted,


/s/ Alan E. Schoenfeld
Alan E. Schoenfeld


       cc:     All counsel of record (by ECF)
